                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                 AT GREENEVILLE


UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )     No. 2:15-CR-096
                                                   )
GREGORY HAROLD MOORE                               )

                            MEMORANDUM AND ORDER

        The defendant pled guilty to six counts of the superseding indictment. He will be

sentenced on August 11, 2016. The United States Probation Office has prepared and

disclosed a Presentence Investigation Report (“PSR”) [doc. 96], to which the defendant

has filed three objections. For the reasons that follow, those objections will be overruled.

                                              I.

                                       Objection One

        At paragraph 38, the probation office recommends that the defendant’s offense

level be increased by two pursuant to advisory guideline 2D1.1(b)(2). That guideline

applies, “If the defendant used violence, made a credible threat to use violence, or

directed the use of violence . . . .” U.S. Sentencing Guidelines Manual § 2D1.1(b)(2)

(2015). In his cursory objection, the defendant appears to argue either: (a) that he did not

in fact “use violence, make a credible threat of violence, or direct the use of violence”; or,

(b) that he did not do so toward “any other member of the conspiracy or potential witness

for the United States.”




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       As to the first of these issues, in his plea agreement the defendant plainly

acknowledges that he did indeed make a credible threat of violence and directed the use

of violence.   Moreover, the defendant pled guilty to Count 19 of the superseding

indictment which charges a violation of 18 U.S.C. § 1513(b)(2). That statute prohibits

“knowingly engag[ing] in any conduct and thereby caus[ing] bodily injury to another

person or damag[ing] the tangible property of another person, or threaten[ing] to do so,

with intent to retaliate against any person for any information relating to the commission

or possible commission of a Federal offense . . . given by a person to a law enforcement

officer.” 18 U.S.C. § 1513(b)(2).

       This case is a controlled substance prosecution. A search warrant was executed at

the defendant’s residence following a series of undercover buys. [Plea agreement, doc.

72, ¶¶ 4(b)-(i)]. Some drugs were located, as were ledgers which recorded the drug debts

owed to the defendant by various customers and codefendants. Id. ¶ 4(h). One such

listed customer was “IV.” Id.

       In recorded jail calls, the defendant told his codefendant wife Pamela Moore that

IV was “the snitch” and “the narc.” Id. ¶¶ 4(j)-(k). In a subsequent call, the defendant

told his wife, in reference to IV, to have codefendant Donnie Wallen “beat that n*****’s

brains out,” “beat the brakes off that mother f***er,” and “beat the f*** out of that black

n*****.” Id. ¶ 4(l). The defendant explained that Wallen should commit the violence

because it was Wallen who “set him up with the ‘snitch’ or ‘IV.’” Id.

       Pamela Moore subsequently met with the other codefendants and “explained what

the defendant wanted done to the IV [sic] and why.” Id. § 4(m). “Wallen agreed to take

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care of the job for the defendant.”       Id.       Over the next few days, the defendant’s

confederates continued to discuss what the defendant “wanted . . . take[n] care of” –

specifically, “beat[ing] the hell out of” IV because he was “the snitch.” Id. ¶¶ 4(q)-(s).

       These admissions plainly show that the defendant directed the use of violence and

that his codefendants considered his threats to be credible.         As for the defendant’s

apparent alternate argument that § 2D1.1(b)(2) only applies when threats or violence are

toward a coconspirator or potential witness, the defendant cites no authority imposing

such a limitation and this court’s survey of Sixth Circuit caselaw and the guideline

application notes finds none. Guideline 2D1.1(b)(2) is correctly applied in this case and

the defendant’s first objection will be overruled.

                                                II.

                                       Objection Two

       At paragraph 39, the PSR increases the defendant’s offense level by two pursuant

to advisory guideline 2D1.1(b)(12). That guideline applies, “If the defendant maintained

a premises for the purpose of . . . distributing a controlled substance . . . .” U.S.

Sentencing Guidelines Manual § 2D1.1(b)(12) (2015).

       In his plea agreement, the defendant admits that he distributed controlled

substances from (and that drugs and drug ledgers were stored at) his residence. [Doc. 72,

¶¶ 4(b)-(e), (h)-(j), (n)-(q)]. As such, the defendant wisely does not now object that he

did not maintain a premises for the purpose of distributing controlled substances.

Instead, his second objection argues that § 2D1.1(b)(12) should not be applied because



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“this conduct has already been addressed in the base offense level found in paragraph 37

of the PSR.” The court disagrees.

       At paragraph 37, as happens in virtually all drug cases, the defendant’s base

offense level is determined pursuant to advisory guideline § 2D1.1(a)(5) and § 2D1.1(c)’s

Drug Quantity Table. The present PSR then considers the various “Specific Offense

Characteristics” listed in § 2D1.1(b) which increase (or in some cases decrease) a drug

defendant’s offense level. The present defendant’s argument – that an offense level

should be based solely on drug quantity – renders all of § 2D1.1(b) redundant. The

defendant cites no authority to support such an incredible notion, and the court is certain

that there is none. See United States v. Cole, 359 F.3d 420, 428 n.13 (6th Cir. 2004)

(citation omitted) (“It is not sufficient for a party to mention a possible argument in the

most skeletal way, leaving the court to ... put flesh on its bones.”). The defendant’s

second objection will be overruled.

                                            III.

                                      Objection Three

       At paragraph 41, the PSR increases the defendant’s offense level pursuant to

advisory guideline § 3B1.1(b) based on his role his aggravating role in the offenses of

conviction. Guideline 3B1.1(b) recommends a three-level increase, “If the defendant was

a manager or supervisor (but not an organizer or leader) and the criminal activity

involved five or more participants or was otherwise extensive . . . .” U.S. Sentencing

Guidelines Manual § 3B1.1(b) (2015). The application notes to § 3B1.1 provide that the

court should evaluate factors such as a defendant’s exercise of decision-making authority,

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the nature of his participation in the commission of the offenses, any recruitment of

accomplices, the claimed right to a larger share of the fruits of the crimes, the nature and

scope of the illegal activity, the degree of participation in planning the offenses, and the

degree of control and authority the defendant exercised over others. Id. cmt. n.4. By his

cursory third objection, the defendant simply protests that he “was not a manager or

supervisor and that the activity involved did not have five or more participants or was

otherwise extensive.”

       As an initial matter, the court concludes that this criminal conspiracy had at least

six participants. Five persons were indicted in this case and all have pled guilty. In his

plea agreement, the defendant acknowledges various participation by each of his four

codefendants and at least one other “unindicted co-conspirator.” [Doc. 72, ¶¶ 4(j), (l)-(n),

(p)-(s)].

       The defendant’s plea agreement further shows that he: (1) exercised decision-

making authority; (2) profited significantly from the large amount of drugs that were

distributed; and (3) was a planner with control and authority over his codefendants. As

noted, the defendant stored the drugs at his home. After his arrest, he instructed his

codefendant wife to transfer $30,000.00 worth of stashed pills to codefendants Jones and

Davis for resale. Id. ¶¶ 4(j), (l). He told Jones to collect one drug debt, directed her to

tell codefendant Wallen to collect another debt, and asked Pamela Moore about the status

of yet another sum owed. Id. ¶¶ 4(n), (p).

       On August 28, 2015, the defendant boasted to Jones that law enforcement only

found approximately $20,000.00 of his drug proceeds. “Kathy Jones agreed and said

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because, ‘You invested it, yep. You invested it.’” Id. ¶ 4(p). The defendant then said to

Jones (regarding the value of some hidden drugs), “you wouldn’t believe if I told you,

you would trip out.” Id.

       The defendant’s planning authority is further illustrated by his use of codefendants

to carry out his plan of “beating the hell out of” IV. Control of those codefendants is

shown by events which took place on August 24 and 25, 2015.

       Pamela Moore met with Kathy Jones, David Allen Davis and Donnie
       Dwayne Wallen. During the meeting, Pamela Moore explained what the
       defendant wanted done to the [sic] IV and why. Wallen agreed to take care
       of the job for the defendant. . . . Pamela Moore told the defendant that she
       told Kathy Jones what was needed and that Kathy Jones agreed to sell
       drugs . . . and give the money to Pamela Moore.

Id. ¶ 4(m).

       Based on all these admissions, the court concludes that the managerial/supervisory

adjustment is properly applied in this case. The defendant’s participation in this

conspiracy was extensive. He supplied controlled substances to co-conspirators. He

directed those persons to sell drugs, collect debts, and exact revenge on his behalf.

Guideline 3B1.1(b) is properly applied in this case.




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                                       IV.

                                    Conclusion

      For the reasons provided herein, the defendant’s PSR objections are

OVERRULED.         Sentencing remains set for August 11, 2016, at 1:15 p.m. in

Greeneville.

               IT IS SO ORDERED.

                                                   ENTER:



                                                         s/ Leon Jordan
                                                   United States District Judge




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